Case 1:21-cv-24324-DPG Document 1-24 Entered on FLSD Docket 12/14/2021 Page 1 of 3




                       EXHIBIT “U”
   Case 1:21-cv-24324-DPG Document 1-24 Entered on FLSD Docket 12/14/2021 Page 2 of 3




From: Brian C. Shevland <shevland@yahoo.com>
Sent: Monday, August 9, 2021 12:09 PM
To: Patrick Orlando <porlando@benesserecapital.com>; Patrick Orlando <porlando@beneinvest.com>
Subject: Fw: Digital World Funding Closed


Patrick,

I assume the email below does not impact my personal investment into DWAC along the lines of our
agreement, our communications last week, and the spreadsheet I sent you. I would feel a lot more
comfortable if I can wire in my investment amount in today/tomorrow, and not worry that this slips
through the cracks somehow. Are we in agreement on the $100,000 investment amount and
corresponding shares? Let me know as soon as possible.

Sincerely,

Brian


----- Forwarded Message -----
From: Alex Cano <acano@beneinvest.com>
To: Shevland@yahoo.com <shevland@yahoo.com>
Cc: Patrick Orlando <porlando@beneinvest.com>; Alex Monje <amonje@beneinvest.com>; Horacio Cruz
<hcruz@beneinvest.com>; Natalie Salume <nsalume@beneinvest.com>; Reilly. May <rmay@beneinvest.com>
Sent: Monday, August 9, 2021, 09:58:06 AM GMT-4
Subject: Digital World Funding Closed

Dear Valued Consultant,

We are writing to inform you that as of last Thursday, August 5th, Digital World Acquisition Corp. was fully
funded, and therefore, our funding effort for ARCII is now closed.

We are also happy to inform you that fundraising for future SPAC efforts has already commenced, and we can
discuss directing any overflow interest towards these efforts.

We want to thank you, again, for your interest in Digital World Acquisition Corp.

Thank you and best regards,

Alex Cano
Chief Operating Officer

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Case 1:21-cv-24324-DPG Document 1-24 Entered on FLSD Docket 12/14/2021 Page 3 of 3




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